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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  IKEIE SMITH #369273,
                                          NO. 1:22-cv-925
         Plaintiff,
  v                                       HON. PAUL L. MALONEY

  RAY RUBLEY, LLOYD BLACKMAN,             MAG. JUDGE PHILLIP J. GREEN
  LIZA MOYER, GARY STUMP, and
  BRANDON WELCH,

         Defendants.

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  ____________________________________________________________________________/

        MDOC DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION IN
      LIMINE TO PRECLUDE EVIDENCE BY THE PLAINTIFF REGARDING
          ISSUES ALREADY DECIDED IN MISCONDUCT HEARINGS

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  Date: June 9, 2025
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                 CONCISE STATEMENT OF ISSUES PRESENTED

        1.      Should this Court find that Smith is precluded from testifying that his
                January 2, 2020 failure to disperse misconduct ticket was false and
                that the fight he had with inmate Hoskins was set up by MDOC staff
                because the hearing officers resolved those issues against Smith?

               CONTROLLING OR MOST APPROPRIATE AUTHORITY

  Authority:

  Peterson v. Johnson, 714 F.3d 905 (6th Cir. 2013)




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                               STATEMENT OF FACTS

          Smith has received many misconduct tickets. (Ex. A, Misconduct Summary.)

  Smith has claimed that the ticket he received for failing to disperse on January 2,

  2020, was false, but Smith was found guilty of that misconduct by an

  Administrative Law Judge. (Ex. B, 1/2/20 Misconduct Hearing Report.) Despite

  Smith’s claim that the ticket was false, the ticket was not issued by any Defendant.

  (Id.) However, Defendant Welch did issue Smith a ticket for fighting on March 26,

  2020. (Ex. C, 3/26/20 Misconduct Hearing Report.) In the hearing on that ticket,

  Smith’s defense was that he claimed that prisoner Hoskins was sent by staff to

  assault him. (Id.) The Administrative Law Judge (hearing officer) specifically

  found that Smith “is not found to be credible in claiming staff sent Prisoner Hoskins

  to attack” Smith. (Id.) Smith was found guilty on the ticket, and it was not

  overturned and remains on his record. (Ex. A.)

          These guilty findings, which occurred in a Class I misconduct hearing, are

  preclusive and Smith is not able to argue to the contrary as a matter of law.

  Defendants request that the Court preclude Smith from arguing that the January 2,

  2020 ticket was false or that staff sent Hoskins to fight with Smith on March 26,

  2020.




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                                       ARGUMENT

  I.    This Court should find that Smith is precluded from testifying that
        the January 2, 2020, ticket was false or that staff arranged to have
        Hoskins fight with Smith on March 26, 2020, because a hearing
        officer resolved those issues against Smith.

        Smith was found guilty on both the January 2, 2020, and March 26, 2020

  misconduct tickets. The hearing officer on the January 2, 2020 failure to disperse

  ticket specifically found that Smith was guilty of the charge and that the facts as

  alleged were true. (Ex. B.) With regard to the March 26, 2020 misconduct ticket for

  fighting, Smith argued that “staff sent Hoskins down from B upper to attack

  prisoner.” (Ex. C.) The hearing officer then found against Smith on the issue by

  finding that Smith was not credible. (Id.) These findings are entitled to preclusion

  effect. The Sixth Circuit has held courts should give preclusive effect to a hearing

  officer’s findings if the findings meet certain standards. Peterson v. Johnson, 714

  F.3d 905 (6th Cir. 2013).

        Under Peterson, a hearing officer’s decision will have preclusive effect if it

  meets four criteria. First, the agency must be acting in a judicial capacity. Peterson

  v. Johnson, 714 F.3d 905 at 912. Second, the hearing officer must have resolved a

  disputed issue of fact that was properly before it. Id. at 913. Third, the prisoner

  must have had an adequate opportunity to litigate the factual dispute at issue. Id.

  at 913. Finally, if the first three criteria are satisfied, then the Sixth Circuit looks

  to whether Michigan law would give a hearing officer’s findings preclusive effect.

  Id. at 913. In Peterson, the Sixth Circuit concluded that hearings conducted by

  hearing officers ultimately have preclusive effect because they meet all four of the



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  criteria outlined above. Id. at 917. All the factors listed in Peterson are present in

  this case. (ECF No. 52-2, PageID.270-272, Roberts Dep. 51:1-53:16.) Smith does

  not get a second bite at the apple to contest the factual allegations of the misconduct

  tickets when he was found guilty. Therefore, this Court should preclude Smith from

  presenting evidence that the January 2, 2020 misconduct ticket was false or that

  staff sent Hoskins to fight Smith with regard to the March 26, 2020 incident.


                     CONCLUSION AND RELIEF REQUESTED

        Defendants request that this Court find that Smith is precluded from

  testifying that the January 2, 2020 misconduct ticket was false or that staff sent

  Hoskins to fight Smith with regard to the March 26, 2020 incident because hearing

  officers resolved those issues against Smith.

                                                  Respectfully submitted,

                                                  /s/Adam P. Sadowski
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                           CERTIFICATE OF SERVICE

         I hereby certify that on June 9, 2025, I electronically filed the above
  document with the Clerk of the Court using the ECF System, which will provide
  electronic copies to counsel of record.

                                              /s/Adam P. Sadowski
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